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                                                                                          FILED
                                                                                        U.S. DISTRICT COURT
                                                                                    EASTERN DISTRICT ARKANSAS

                  IN THE UNITED STATES DISTRICT COURT        JUL 2 5 2017
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION           JAMEs.w.~McORMACK, CLERK
                                                      By: _ _...::;;-~~-~~=-
DINADAHDAL, M.D.                                    PLAINTIFF             DEP CLERK



                              cAsE No.      hf: l 7- c.v~ '-11~... BsM.
TREMAYNE PEARSON, and WILLIAM GILLIAM
 individually and in their official capacity for
LITTLE ROCK WASTEWATER UTILITY,
BRITTANY GODFREY, BYRON HARPER, OFC. SILVA,
individually and in their official capacities as This case assigned to District Judge )A., It~
police officers for the city of Little Rock,                               R
CITY OF LITTLE ROCK,                             and to Magistrate Judge__....,.4~~,.....------
PULASKI COUNTY SHERIFF'S OFFICE and
 UNITED PAIN CARE, LTD                                                  DEFENDANTS

                              COMPLAINT-COUNT ONE CIVIL RIGHTS

1. This is a civil rights action for compensatory and punitive damages brought pursuant to 42 USC

1983 and 1988, under the Second, Fourth, Fifth, Eighth, and 14th Amendments to the United States

Constitution, the Constitution of Arkansas, the Arkansas Civil Rights Act of 1983 codified at A. C.A.

16-123-101 et seq. and the common-law of the State of Arkansas against all named defendants except

United Pain Care, LTD which is dealt with in count two. At all times relevant to count one plaintiff

was a resident of Pulaski County, Arkansas. All acts alleged have occurred in the City of Little Rock,

Pulaski County, Arkansas. All individual defendants are employees of the City of Little Rock,

Arkansas. Pulaski County Sheritrs Office is the entity which runs the jail, and the website posting

pictures of arrestees.

2. This court has jurisdiction over the parties and subject matter.

3. On August 19, 2014, Little Rock Police Department Defendant officers Godfrey and Harper

approached Dr. Dahdal and Ms. Doe's home at 32 Flag Road, Little Rock, Arkansas and knocked on

their front door. Plaintiff answered the door; the officers asked if she had witnessed an alleged

altercation. Plaintiff truthfully answered, "No". The officers began to aggressively and leadingly

question Ms. Doe about an alleged altercation to which Ms. Doe truthfully denied. The officers
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    continued the badgering of both Dr. Dahdal and Ms. Doe including asking plaintiff if she rented or

    owned her single family home. Plaintiff then requested the officers badge numbers and advised Ms.

    Doe that she had the right to remain silent and have a lawyer present, whereupon officer Godfrey

    threatened plaintiff with taking her to jail proclaiming, "Now listen here, you keep this up and I'll take

    you to jail". Dr. Dahdal inquired as to what the proposed offense was and the officer responded for

    obstructing governmental operations. Officer Harper placed his hand on his gun. Plaintiff told him this

    was interpreted as a threatening gesture and he took his hand off. Dr. Dahdal clearly re-stated "I do not

    consent to any further questioning or a search" as Godfrey put her leg inside the door to hold the door

    open then lunged at Dr. Dahdal, grabbing her left arm and right arm at which time Harper bent over,

    grabbed her by both ankles and pulled them from underneath plaintiff causing plaintiff to fall onto Ms.

    Doe who was behind her and caused Godfrey to fall down. This enraged Godfrey and she repeatedly

    kicked plaintiff with her boot. The officers tackled, then dragged plaintiff out of her house, rolled her

    face down onto concrete at the arrival of numerous reinforcement vehicles including officer Silva who

    jumped onto plaintiff while Harper handcuffed her behind her back. Silva took plaintiff to Harper's

    police car and locked her inside. LRPD officers were excessively forceful in extracting plaintiff from

    her home. These actions caused significant injuries to plaintiff's arms, legs and torso. The officers were

    armed and their questions as they took Dr. Dahdal into custody from her home constituted custodial

    interrogation. Plaintiff was never told she was under arrest or for what offense and was never

    Mirandized. From the back seat of the police vehicle plaintiff saw officers enter her home and

    disappear into it for an extended period of time. Plaintiff was incarcerated overnight and the next day

    resulting in one missed day of University of Arkansas for Medical Sciences Physical Medicine and

    Rehabilitation resident physician obligation at Central Arkansas Veterans Healthcare System.

    4. Pearson and Gilliam were at all times acting within the scope of their employment for Little Rock

    Wastewater Utility, an agency of the City of Little Rock. Defendant Pearson gave false accusations

    against Ms. Doe to his superiors and called the police. Pearson reportedly told the Defendant officers
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that ''the blond", i.e. Ms. Doe had assaulted him. Defendant Pearson declined to press charges to police

and informed a witness; Mr. David Kaufman, J.D. who is plaintiff's next door neighbor residing at 30

Flag Road, Little Rock, Arkansas, of such decision at the scene. Defendant Pearson stated to police

"the brunette'', i.e. plaintiff, was not present or involved during the alleged incident of Ms. Doe making

physical contact with Pearson. Police officers arrived after the alleged incident and had no other

reasonable suspicion or probable cause to enter the plainti:trs home without a warrant, then interrogate,

batter, and arrest plaintiff. Plaintiff was served an ex parte no contact order against Pearson which

would not have been done without the officers' false statements of an altercation between Ms. Doe and

Pearson and false statements about Dr. Dahdal. The ex parte no contact order prohibited plaintiff from

possessing or purchasing a firearm or other weapon for one year's duration, thereby violating Dr.

Dahdal's Second Amendment right.

5. Defendant William Gilliam supported Defendant Pearson's lies to police and his supervisor and was

named in the ex parte no contact order against Plaintiff.

6. At the preliminary hearing in Little Rock District Court the District Judge dismissed all charges

against plaintiff and Ms. Doe. Defendants Godfrey, Harper and Silva violated Dr. Dahdal's Fourth

Amendment right to be free from frivolous arrest on nonexistent facts by wrongfully arresting her,

falsely charging her with battery, assaulting her, searching her home, writing a fictitious police report

and causing excess publicity of the arrest on the internet which has never been taken off the internet

despite objections and complaints by plaintiff. As a matter of office policy, Pulaski County Sheriff's

Office publishes mugshots and details of arrests on the internet but refuses to remove the picture from

public domain after charges are dismissed which has dire consequences on the lives of citizens. Pulaski

County Sheriff's Office further refused to remove the mugshot from public posting even after plaintiffs

arrest record was officially sealed by court order, and after being asked to do so by plaintiff, so the

internet states to the world that plaintiff was arrested without the clarification that she was acquitted.

There was no justification for the defendants to inflict this terrorizing behavior upon the body and
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reputation of a physician who is an outstanding citizen of the community, in the otherwise peaceful

Briarwood neighborhood on a sunny Tuesday early afternoon. Plaintiff was physically injured and was

grievously injured by the publication to the world of the charges without an explanation that she was

acquitted. Because of that internet publication and the impact of a violent false charge such as battery

in the third degree on patient trust she was terminated from a position which was to have paid her

$925,000 dollars and defendants are liable to her for that sum.

7. As a proximate result of the actions of defendants, plaintiff suffered physical pain and suffering,

temporary disfigurement, emotional stress, damage to reputation and financial losses for which plaintiff

should be compensated by the defendants in an amount exceeding the jurisdictional limit for diversity

cases in federal district court.

8. Defendant officers knew when they committed these wrongful acts upon the plaintiffs that LRPD

officer Donna Lesher had shot and killed Eugene Ellison while he was unarmed in his home without

probable cause and knew that the City of Little Rock had not fired Lesher, arrested Lesher or

disciplined her so that the City of Little Rock established by this failure to act that the intentional

constitutional violations of citizen's rights by Little Rock police officers was official policy of the City

of Little Rock.

9. The defendants acted willfully with malice intentionally entitling the plaintiff to punitive damages

against them in an amount exceeding the jurisdictional limit for diversity cases in federal district court

plus attorney's fees and costs.

                              COUNT TWO - BREACH OF CONTRACT

10. Plaintiff is now a resident of the state of California. Defendant United Pain Care, LTD is a resident

of the state of Arkansas so that there is complete diversity of jurisdiction. The matter in controversy

exceeds, exclusive of interest and costs, the sum specified in 28 U.S.C. 1332. This court has

jurisdiction of the parties and the subject matter.

11. Plaintiff and defendant United Pain Care, LTD are parties to a contract attached hereto as Exhibit
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1, which provided that defendant was hiring plaintiff for three years at the rate of $300,000 per year

with a $25,000 sign-up bonus.

12. However, because of the arrest referred to in count one of this complaint defendant United Pain

Care refused to employ plaintiff and therefore owes plaintiff $900,000 plus $25,000. Plaintiffs arrest

for obstruction of governmental operation was not a defense to the contract and is not grounds for

termination of the contract.

        WHEREFORE, plaintiff prays for damages against all defendants in count one for

compensatory and punitive damages in amounts exceeding the jurisdictional level of this court and in

count two for the sum of $900,000.00 plus $25,000 sign-up bonus for a total of $925,000.00 plus

attorneys fees, costs and all other proper relief.




                                                            R. David Lewis 68030
                                                            Attorney for plaintiff
                                                            1109 Kavanaugh Blvd.
                                                            Little Rock, Arkansas 72205
                                                            501-664-0818
                                                            501-664-3884 Facsimile
                                                            rdavidlewis@yahoo.com


                                   VERIFICATION AND AFFIDAVIT

State of Arkansas      )
                       )SS
County of Pulaski      )


        I, Dina Dahdal, M.D. after being duly sworn, on oath, state, according to the best of my

knowledge, information and belief, that the allegations and statements contained in the foregoing

complaint are true and correct.
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Dina Dahdal, M.D.
Subscribed and sworn to, before me, a Notary Public, t h i s ± day of July, 2017.


                                              ~L_
                                          NOTARY PUBLIC
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                            IN GOD WE TRUST

                     *************
                         UNITED PAIN CARE


                       EMPLOYMENT AGREEMENT

     THIS EMPLOYMENT AGREEMENT, effective the 1st day of July,
2016 is entered into between United Pain Care, Ltd (the
"Employer") and Dina E. Dahdal, M.D. ("Employee").

WI T N E S S E T H

     WHEREAS, the Employer provides the services of physicians
licensed to practice medicine in the State of Arkansas; and

     WHEREAS, the United Anesthesia Associates, P.A. is the sole
contracted provider of Pain Medicine services at United Pain
Care, Ltd at 7481 Warden Road, Sherwood, AR 72120; and

     WHEREAS, the Employee desires to practice medicine as an
employee of the Employer; and

     WHEREAS, Employee is licensed in the State of Arkansas to
practice medicine, and is a trained in the field of Physical
Medicine and Rehabilitation; and

     WHEREAS, the Employer and Employee have determined a
reasonable formula for the compensation of Employee, and the
Employer has offered employment on the basis of such
compensation formula and benefits hereinafter set forth, and
Employee is willing to accept employment on such terms and abide
by the terms of this agreement.

     NOW, THEREFORE, in consideration of the mutual promises and
covenants herein contained, Employer hereby employs Employee and
Employee accepts employment upon the following terms and
conditions:

1. EMPLOYMENT; DUTIES; TERM AND OBLIGATIONS OF EMPLOYEE

  1.1.    HOURS: Employer hereby employs Physician and Physician
     agrees to be employed by the Employer for 8 hours a day,
     forty (40) hours per week.

  1.2.    STANDARD OF CARE: Employee shall provide services at a
     level of competence commensurate with acceptable medical
     professional standards and to the best of Employee's
     ability. Employee agrees to devote sufficient and necessary
     time, attention, and skill to the performance of duties as
     an employee of the Employer as is reasonably required by
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                                                                                                          Inserted: March 25, 2016
  the Employer. The Employee shall do no act in                                                           Deleted: March 15, 2016
  contradiction of the ethical standards established by the
  American Medical Association.

1.3.    MALPRACTICE POLICY: Employee shall, at all times,
   maintain in good standing her license to practice medicine
   in the State of Arkansas; shall obtain and maintain, in
   good standing, membership to the medical staffs of
   hospitals serviced by Employer; and maintain eligibility
   for professional liability insurance coverage with claim
   limits in the minimum amount of one million dollars
   ($1,000,000) per occurrence and three million dollars
   ($3,000,000) in the aggregate as required by the Employer
   consistent with other physician-employees of the Employer.

1.4.    MALPRACTICE CLAIM: The Employee and the Employer
   mutually agree to work together in defense of any
   malpractice claim, against either party or both parties,
   alleged to have occurred during the term of the Employee's
   employment. The parties agree to promptly notify their
   respective malpractice insurance carriers and the other
   party of any claim, or of the existence of a potential
   claim, of malpractice at such time as the party becomes
   aware of the existence of such claim or potential claim.
   The parties agree to work together to provide all necessary
   information and cooperate with their respective insurance
   companies in the defense of any claim, including, but not
   limited to, providing all records, files,
   information, memorandums, and other information about the
   claimant, potential claimant, and his or her case history.

1.5.    TAIL CCOVERAGE: In the event of termination of this
   Agreement, whether voluntarily or involuntarily, Employer
   shall inunediately purchase continuing endorsement ("tail")
   professional liability insurance in amount of One million
   dollars ($1,000,000) per claim and three million dollars
   ($3,000,000) per yearly aggregate, or such other amount as
   may be required by Arkansas State Medical Board statute,
   whichever is greater. Employer agrees to maintain this
   insurance in force until all applicable statutes of
   limitation have run to protect the Employer from financial
   loss with respect to any claim against the Employer that
   could be covered by such insurance.

1.6.   EXCLUSIVITY: During the term of this Agreement,
   Employee agrees not to render professional services to any
   other party other than Employer except with expressed




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                                           Employment Agreement: United Pain Care - Dina Dahdal

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                                                                                                   Inserted:  March 25, 2016
  permission if the moonlighting work will not affect                                               Deleted: March 15, 2016
  performance with the employer.

1.7.    ASSIGNMENTS: The relationship between Employer and
   Employee is the same as that of other professionals on the
   staff of the Employer, i.e., that of any employer and
   employee subject to the National and State Canons or Rules
   of Ethics. The Employer shall have the sole right to
   determine the assignment of patients to Employee and
   Employee shall render proper services to such patients.
   Employee shall abide by and act in accordance with any and
   all policies, rules, procedures, and instructions
   established by the Employer; including, but not limited to
   those relating to patient assignment, acceptance, and
   rejection, charging of fees, participation on hospital
   staffs and in various insurance entities such as HMO's,
   PPO's, IPA's and other similar organizations. The Employee
   shall confer with the Employer and the other physicians of
   Employer to periodically review patient matters in order to
   assure the highest possible level of patient care and
   professional practice.

1.8.    PATIENT SOLICITATION: It is understood that all
   patients treated by the Employee are patients of the
   Employer. Employee may not solicit any patient or
   prospective patient of Employer, it being expressly
   understood that the Employer shall have the sole authority
   to determine which employees of the Employer shall perform
   professional services for any particular patient of the
   Employer.

1.9.   RECORDS: Employee shall promptly prepare and file any
   medical records, business records, or other reports that
   the Employer may from time to time require.

1.10.   FEES AND CHARGES: Employee shall charge all patients
   of the Employer for professional services performed during
   the term of this Agreement in accordance with the fee
   schedules and policies established by the Employer, and to
   regard all charges for said professional services as
   property of the Employer.

1.11.  PRIOR CONSENT: Employee shall not execute any contract
   on behalf of the Employer without the prior consent of the
   Employer.




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  1.12.   CONTINUING MEDICAL EDUCATION (CME): Employee agrees to                                        Deleted: March 15, 2016
     maintain membership in appropriate professional societies
     and organizations and to attend a sufficient number of CME
     professional meetings to maintain skills and meet
     requirements for licensure in Arkansas.

2. OBLIGATIONS OF EMPLOYER: During the term of this Agreement,
   the Employer shall:

  2.1.    FACILITY: Provide the necessary office facilities,
     equipment, supplies, and personnel to enable the Employee
     to perform the duties hereunder;

  2.2.   ALLOCATION: Direct, control and supervise the duties
     and work of the Employee. The Employer shall have the sole
     and exclusive right to allocate the patients among its
     employees with due regard to the source of the patient, the
     specialty and skill of the employees and the workload of
     the employees;

  2.3.    SALARY: Pay a yearly guaranteed salary of three
     hundred thousand dollars ($300,000 ) during the first
     year. Salary will be computed monthly and paid within seven
     days following the close of accounting for the previous
     month. Such payments shall be subject to reduction for all
     applicable employment taxes, including income taxes, social
     security, and Medicare tax as applicable under Federal and
     State laws.

  2.4.     INCENTIVE PAYMENT: Provide an incentive payment above
     the guaranteed salary based upon Employee's productivity
     and efficiency. Employee shall receive sixty percent (60%)
     of the income for services performed beyond 150 encounter
     units (EU) a week defined as follows, which shall be
     renegotiated after completion of the first year;
     2.4.1.     Evaluation and Management (E&M) of 15 min for
         follow up (1 EU) and new patients for 30 min (2 EU)
     2.4.2.     Fluoroscopic and non-fluoroscopic procedures such
         as ultrasound guided trigger point and joint injections
        are usually performed in conjunction with the follow up
        visit which would then be about 30 min (1 + 1 EU);
     2.4.3.     This incentive shall be paid monthly (after 90
        days for collection, meaning, January incentive payment
        will be paid in May).

  2.5.   Signing Bonus. Pay a one time signing bonus in the
     amount of twenty five thousand dollars ($25,000) which




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  shall be paid during normal payroll over the first 3 months                                               Deleted: March 15, 2016
  of employment.

2.6.    COMPLIANCE: Provide urine drug testing facility for
   monitoring patient compliance on controlled substances and
   screening from illicit substances according to current
   clinic Urine Drug Testing policies.

2.7.    PRESCRIBING: Prescribe according to current clinic
   guidelines for pill quantity limits for non-cancer pain and
   non-controlled adjuvant medications to manage pain. No
   post-dated prescriptions to be issued. No prescriptions
   authorized over the phone unless under exceptional
   circumstances with a note in the patient chart describing
   the circumstances.

2.8.    MEDICAL MALPRACTICE: Provide medical malpractice
   insurance coverage.

2.9.    HEALTH INSURANCE: Provide health insurance
   reimbursement to the employee and immediate family up to
   $500 per month. The insurance reimbursement amount may
   change according to clinic policy for all physicians.

2.10.   PAID TIME OFF: Allow Employee to take twenty (20
   workdays as vacation time and five (5) workdays to attend
   professional meetings provided Employer is given sufficient
   advance notice of the Employee's intent to be temporarily
   away. Such vacations or absences from work shall be
   limited to the extent that there is no material adverse
   impact on the operation of the business, and approved by
   the Employer two (2 ) months in advance. The Employee
   shall be entitled to six (6) paid holidays each year. All
   leaves will be pro-rated. Paid maternity leave will be
   covered after three (3 ) years of employment.

2.11.   PROFESSIONAL ALLOWANCE: Reimburse the Employee for the
   costs of computer equipment, software, professional
   organization memberships, subscriptions, journals, and
   meeting expenses, subject to a yearly limit of eight
   thousand five hundred dollars ($8,500). The amount will be
   pro-rated for part of the year.

2.12.   PARTNERSHIP: The employee will be eligible to purchase
   shares in the practice after 90 days of employment. The
   employee can set aside pre-tax income towards the purchase
   of practice shares. After 1 year of employment, the




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        employee can incrementally obtain shares without purchasing                                            Deleted: March 15, 2016
        based on further negotiated salaries and value provided to
        the practice.

3.   COMMENCEMENT AND TERMINATION OF AGREEMENT: The term of this
     Agreement shall be from August 15, 2016 until August 14, 2019
     unless sooner terminated upon occurrence of the following:

     3.1.   Upon the death of the Employee; or

     3.2.   After sixty (60) days prior written notice by either
        party; or

     3.3.    Upon delivery of written notice of any substantial
        breach of any material obligation of either Employee or
        Employer set forth in section I or II above, provided such
        written notice shall specify the provision of this
        Agreement that has been breached and after allowing ten
        (10) calendar days for the breaching party to cure such
        breach; or

     3.4.    Employee is found by any governmental agency or court
        to have violated federal or state labor or civil rights
        laws, including, but not limited to, Title VII of the Civil
        Rights Act of 1964, as amended, the Americans With
        Disabilities Act, and the Arkansas Civil Rights Act; or

     3.5.     Immediately upon the Employee's commission of:
        3.5.1.     a felony; or
        3.5.2.     any act of fraud, misappropriation, embezzlement,
           willful misconduct by any professional board,
           institution, organization or professional society or
           willful violation of any material obligation of this
           Agreement; or
        3.5.3.     failure to maintain licensure in Arkansas,
            failure to maintain hospital staff privileges, or
            failure to maintain eligibility for malpractice
            insurance coverage; or
        3.5.4.     If the Employee is unable to carry on her duties
           by reason of physical or mental disability and be deemed
           disabled. Upon Employee's disability for a consecutive
           period of thirty(30) days the Employee shall receive her
            regular monthly salary. If the disability continues for
           more than one (1) month, the Employee shall be entitled
           to no further compensation; or
        3.5.5.     The employee shall fail or refuse to comply with
           the policies, standards and regulations of the Employer




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      to the satisfaction of the Board of Directors, provided                                              Deleted: March 15, 2016
     that no such termination shall occur hereunder until the
     Employer shall have delivered a written notice to the
     Employee describing the failure and such failure is not
      cured to the Employer's satisfaction within a period of
      ten   (10) days following receipt of such notice;
     provided that the Employer shall not be required to
     provide more than two (2) such notices during any period
      of six (6) consecutive months; or
  3.5.6.      If the Employee shall fail or refuse to
      faithfully or diligently perform the provisions of this
     Agreement or the usual and customary duties of her
      employment, provided that no such termination shall
      occur hereunder until the Employer shall have delivered
      a written notice to the Employee describing the failure
      and such failure is not cured to the Employer's
      satisfaction within a period often (10) days following
      receipt of such notice; and

3.6.     Notwithstanding Employee's termination of employment
   pursuant to the above provisions of Article III, upon
   termination of employment the Employee shall:
   3.6.1.     Deliver to Employer an immediate accounting of
      all property belonging to Employer in the possession of
      Employee; and
   3.6.2.     Complete all records and reports reasonably
       required by Employer. All professional and business
       records, including all patients general charts and x-
       rays, remain the property of the Employer and shall not
      be removed from the office; and
   3.6.3.     Refrain forthwith from representing to be an
       agent or employee of the Employer; and
   3.6.4.     Receive any compensation due and owing for
       services properly performed under the terms of this
      Agreement prior to termination, less any amounts which
       the Employee owes to the Employer pursuant to this
      Agreement, and less any amount which the Employer may
       have the right to offset against the amount owed to
       Employee. The Employee shall continue to receive
       compensation following the termination of this
      Agreement, in accordance with Article II (B), with such
      payments of deferred compensation to be made monthly as
      patient insurance payments and patient receipts are
       collected, but in no event will such payments continue
      beyond one (1) year from the termination of this
      Agreement; and




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       3.6.5.     The Employer shall have the sole responsibility                                        Deleted: March 15, 2016
           for notifying the public and the patients treated by the
          Employee of the Employee's termination of employment.
          The Employee shall assist the Employer to arrange for
          the reassignment of patients and use best efforts to
          assist the Employer to ensure the continued care of such
          patients. Notwithstanding the above provision, the
          Employee may publicize the new practice arrangement by
           and through any appropriate media.

     3.7.    NON-COMPETE: Should the Employee's employment with
        Employer for any reason end before the end of this
        Agreement period, Employee shall be prohibited from pain
        management services for any clinic or facility within
        Pulaski county for a period of six months, following the
        date of such termination.

4.   MISCELLANEOUS

     4.1.   INCOME OF EMPLOYER: All income generated by the
        Employee for services as a physician shall belong to the
        Employer when performed during the time of the Employer.

     4.2.    ENTIRE AGREEMENT: This Agreement represents the entire
        agreement between the parties hereto and supersedes any and
        all other agreements, understandings, or expectations,
        either written or oral, whether or not communicated.
        Modification of this Agreement shall be valid only when in
        writing and signed by both the Employer and Employee.

     4.3.    REFERENCE: The article and other headings contained
        herein are for reference purposes only and shall not affect
        in any way the meaning or interpretation of this Agreement.

     4.4.    BINDING: This Agreement shall be binding upon and
        inure to the benefit of the Employer and Employee and their
        respective heirs, legal representatives, executors,
        administrators, and successors in interest.

     4.5.    WAIVER OF BREACH. Waiver by the Employer of a breach
        of any provision of this Agreement by the Employee shall
        not operate or be construed as a waiver of any subsequent
        breach by the Employee.

     4.6.    RIGHTS: This Agreement and all rights, benefits, and
        obligations hereunder are personal to the Employee and the
        Employer and neither this Agreement, nor any right,




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                                                                                     Page 9of12 \--- ?---~~-----"""
                                                                                              Inserted: March 25, 2016
  benefit, nor any obligation hereunder, shall be voluntarily                                  Deleted: March 15, 2016
  or involuntarily sold, transferred, or assigned.

4.7.    SEPERABLE: The provisions of this Agreement are
   separable. If any one or more of the provisions of this
   Agreement are held to be invalid for any reason by any
   court of competent jurisdiction, or are voided or nullified
   for any reason including a finding that any provision
   violates ethical opinions or practice restrictions of
   licensing boards or medical associations having
   jurisdiction over the parties, the remaining provisions
   shall continue in full force and effect and shall be
   binding on the parties as nearly as possible.

4.8.    NOTICES: All notices hereunder shall be given in
   writing by hand delivery or by certified mail to the
   following addresses:

    Employer: 7481 Warden Road, Sherwood, AR 72120

    Employee: 32 Flag Road, Little Rock, AR 72205

    Any notice given pursuant to this paragraph shall be
    deemed given on the date of hand delivery or as of five
    (5) days after the date of mailing. Either party may
    change its address for notice purposes.

4.9.    WAIVER: The waiver by either party of a breach or
   violation of any provision of this Agreement shall not
   operate as, nor be construed as, a waiver of any subsequent
   breach or violation hereof. No waiver of any provision
   shall be valid unless made in writing and signed by the
   party for whose benefit the provision exists.

4.10.  ACCOUNTING: All computations required under this
   Agreement shall be determined from the books and records of
   the Employer by its independent accountant or accounting
   firm retained by the Employer. Absent manifest error, the
   calculations and determinations made by the accountant or
   accounting firm shall be conclusive and binding on all the
   parties.

4.11.   APPLICABLE LAW: This agreement has been executed and
   delivered in, and shall be construed and enforced in
   accordance with the laws of the State of Arkansas.




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                                                                                                          Inserted: March 25, 2016
4.12.   INTELLECTUAL PROPERTY: The Employee acknowledges that                                   Deleted: March 15, 2016
   valuable and confidential information about Employer's
   business practices may be obtained during the course of the
   employment and that the unauthorized disclosure of such
   information would harm Employer. Therefore, the Employee
   shall not disclose, without prior written consent of the
   Employer, any information relating to the Employer's
   operations to any person(s) other than: (a) the Employer's
   employees or other professionals retained by the Employer
   to provide services to it; (b) state licensing boards; (c)
   third-party payers but only with regard to patient charges;
   and (d) governmental agencies (but only if served a valid
   subpoena).

4.13.   TRADE SECRETS: Employee acknowledges that during the
   term of this Agreement. Employee will, directly and
   indirectly, learn of or be involved in many confidential
   matters, items, and information as well as certain trade
   secrets and other information considered or defined as a
   proprietary of "trade secret" under the Arkansas Theft of
   Trade Secrets Act or the federal theft of trade secrets
   act, (hereinafter collectively referred to as the.
   "Confidential Information") which Employee hereby covenants
   to keep and maintain confidential within the Employer, both
   during the term of this Agreement. Excepted from the
   foregoing shall be the disclosure of any Confidential
   Information which (a) Employee is directed to disclose by
   the Board of Directors of the Employer provided such is
   undertaken in performance of Employee's normal and
   customary duties, (b) is or becomes generally available to
   the public other than as a result of an unauthorized
   disclosure by Employee, and (c) Employee is directed to
   disclose by a court or governmental agency, provided
   Employee shall have notified the Employer as soon as
   practicable following receipt of notice from a court or
   governmental agency in this regard. Provided, that the
   foregoing prohibition shall not extend to any patient, and
   any information maintained by the Employer with respect to
   such patient, who has voluntarily requested the transfer of
   his or her medical records to the Employee following the
   Employee's termination for any reason whatsoever.

4.14.   PROPERTY: Upon termination of employment, and
   regardless of the reason for such termination, Employee
   will turn over or return to the Employer on the date of the
   termination, all documents or records, files, notebooks,
   handbooks, computers, disks or other materials, including,




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     but not limited to, all copies in her possession or control                                Deleted: March 15, 2016
     which contain Confidential Information of the Employer or
     any other information concerning the Employer, its
     patients, customers, referral sources or vendors.

  4.15.   TRAINING AND SUPERVISION: The employee will observe,
     train and be supervised for interventional spine procedures
     after completing an interventional cadaver course.

  4.16.    CONFIDENTIALITY/HIPAA COMPLIANCE: The parties agree
     that this Agreement and its provisions are strictly
     confidential. The parties shall not disclose any
     information pertaining to any provision of this Agreement
     to any person or entity not a party to this Agreement
     except for tax, legal, or accounting advisors or as
     otherwise required by law. Unless otherwise permitted by
     applicable law, each party to this Agreement will not use
     or disclose certain confidential, proprietary, and
     nonpublic financial and other information concerning
     patients ("Protected Health Information") in violation of
     the requirements of 45 CFR Section 165.504 and 164.506(e)l,
     known as the Health Insurance Portability and
     Accountability Act of 1996, Privacy and Security Standards
      ("HIPAA"), which are incorporated herein by reference. Each
     party agrees to use their best efforts to comply with HIPAA
     in all respects including the implementation of all
     necessary safeguards to prevent such disclosure and the
     assurance that any entity to whom either party provided
     Protected Health Information agree to the same restrictions
     and conditions imposed on the parties hereto under HIPAA.

  4.17.   LEGAL ACTION: In the event any legal action, special
     proceeding, arbitration, or other action is commenced by
     either Employee or Employer to determine rights or
     obligations created by this Agreement, the prevailing party
     shall be reimbursed by the other party for all costs
     incurred by the prevailing party in the proceeding,
     including, but not limited to, all expenses allowable under
     statute and reasonable attorneys' fees.

     IN WITNESS WHEREOF, the parties have executed this
Agreement effective as of the date first written above.

              EMPLOYER:
                                 Mahmood Ahmad, MD
                                 President,
                                 United Pain Care, Ltd




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             EMPLOYEE: _ _ _ _ _ _ _ _ _3'-_f.z_S-_,_,C_l._'.b_
                              Dina E. Dahdal, M.D.


WITNESS:
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                                      /lLJ ~J__
                                     !Mahmood Ahmad,                                             MD]
                                                                            3/26/2016




                       UNITED PAIN CARE, LTD.
